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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

TRAVIS PAUL MCDONALD,                             §
                                                  §
       Defendant/Movant,                          §
                                                  §
V.                                                §   CIVIL ACTION NO. H-07-860
                                                  §   CRIMINAL ACTION NO. H-03-389-22
UNITED STATES OF AMERICA,                         §
                                                  §
       Plaintiff/Respondent.                      §


                 MEMORANDUM AND RECOMMENDATION
        GRANTING UNITED STATES’ MOTION FOR SUMMARY JUDGMENT

       Before the Magistrate Judge in this proceeding under 28 U.S.C. § 2255, is the United States’

Motion for Summary Judgment Pursuant to Plea Agreement Waiver and in the Alternative Answer

and Motion for Dismissal (Document No. 1641), and Movant Travis Paul McDonald’s 28 U.S.C.

§ 2255 Motion to Vacate, Set Aside or Correct Sentence and Memorandum of Law in Support

(Document Nos. 1627 & 1628). Having considered the Motion to Vacate, Set Aside or Correct

Sentence and Memorandum in Support, the United States’ Motion for Summary Judgment, the

record of the proceedings before the District Court in the underlying criminal case, the determination

on appeal, and the applicable law, the Magistrate Judge RECOMMENDS, for the reasons set forth

below, that the United States’ Motion for Summary Judgment be GRANTED, that Movant

McDonald’s § 2255 Motion to Vacate, Set Aside or Correct Sentence be DENIED, and that this

§ 2255 proceeding be DISMISSED with prejudice.
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I.     Procedural History

       Movant Travis Paul McDonald (“McDonald”), who is currently in the custody of the United

States Bureau of Prisons, is seeking federal habeas corpus relief under 28 U.S.C. § 2255. This is

McDonald’s first motion pursuant to § 2255.

       On December 10, 2003, McDonald was charged by Superseding Indictment with conspiracy

to possess with intent to distribute 50 grams of more of methamphetamine (count 1), conspiracy to

commit money laundering (count 7) and five counts of money laundering (counts 8-12). (Document

No. 306). Following plea negotiations, McDonald waived Indictment and was charged in a

Superseding Information with one count of possession with intent to distribute 50 grams or more of

methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A). (Document Nos. 634 & 635).

McDonald pled guilty to the one count of the Superseding Information on April 2, 2004, pursuant

to a written Plea Agreement. (Document Nos. 636, 637, and 638).           Thereafter, following the

preparation of a presentence investigation report, to which McDonald filed objections, McDonald was

sentenced to 188 months incarceration, to be followed by a five year term of supervised release, and

a $5,000 fine. (Document No. 920). A Judgment of Conviction was entered on October 27, 2004.

(Document No. 934).

       McDonald, despite having waived his right to appeal in connection with his written Plea

Agreement, appealed his sentence to the Fifth Circuit Court of Appeals. On January 27, 2006, the

Fifth Circuit dismissed McDonald’s appeal as frivolous. (Document No. 1571). McDonald then, on

or about March 14, 2007, filed his § 2255 Motion to Vacate, Set Aside or Correct Sentence

(Document No. 1627) and Memorandum in Support (Document No. 1628). The Government has

filed a Motion for Summary Judgment Pursuant to Plea Agreement Waiver, and in the Alternative


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Answer and Motion for Dismissal (Document No. 1641), to which McDonald has filed a Traverse

in opposition (Document No. 1647). This § 2255 proceeding is ripe for ruling.



II.      Claims

         McDonald raises essentially two claims in this § 2255 proceeding:

         1.       that he was constructively denied an appeal when his appellate counsel filed
                  a “no merits” Anders brief; and

         2.       that his sentence, which was based on facts not admitted to him or found by
                  a jury beyond a reasonable doubt (including drug quantity and a firearm
                  enhancement), is unconstitutional and runs afoul of the Supreme Court’s
                  decisions in Blakely v. Washington, 542 U.S. 296, 124 S.Ct. 2531 (2004)
                  and United States v. Booker, 543 U.S. 220, 125 S.Ct. 738 (2005).

         The Government argues in its Motion for Summary Judgment that dismissal of McDonald’s

§ 2255 Motion to Vacate, Set Aside or Correct Sentence is warranted because McDonald, as part

of his written Plea Agreement, knowingly and voluntarily waived his right to collaterally challenge

his conviction and sentence in a § 2255 proceeding such as this. In the alternative, the Government

argues that no relief is available to McDonald on the merits of his claims.



III.     Discussion – Waiver

         A defendant’s waiver of his statutory right to collaterally challenge his conviction with a

motion to vacate, set aside or correct sentence under 28 U.S.C. § 2255 is generally enforceable if the

waiver is both knowing and voluntary. United States v. Wilkes, 20 F.3d 651, 653 (5th Cir. 1994);

United States v. Davila, 258 F.3d 448, 451-52 (6th Cir. 2001). When, however, a defendant alleges

that his counsel was ineffective in negotiating a plea agreement, such ineffectiveness claims survive



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the waiver if “the claimed assistance affected the validity of that waiver or the plea itself.” United

States v. White, 307 F.3d 336, 343 (5th Cir. 2002) (holding that “an ineffective assistance of counsel

argument survives a waiver of appeal only when the claimed assistance directly affected the validity

of that waiver or the plea itself”). In addition, such waivers do not “preclude review of a sentence

that exceeds the statutory maximum.” United States v. Hollins, 97 Fed. Appx. 477, 479 (5th Cir.

2004). In the context of a plea agreement waiver, a sentence exceeds the statutory maximum only

when it exceeds the maximum allowed by statute. United States v. Bond, 414 F.3d 542, 546 (5th Cir.

2005); United States v. Cortez, 413 F.3d 502, 503 (5th Cir. 2005), pet. for cert. filed (U.S. Sept. 14,

2005) (No. 05-369).

       In this case, the record shows that McDonald, as part of his written Plea Agreement, waived

his right to appeal, including the manner in which his sentence was determined, and waived his right

to collaterally challenge his conviction and/or sentence. The Plea Agreement provides in this respect:

                               WAIVER OF RIGHT OF APPEAL

               14. The defendant is aware that Title 18, United States Code, Section 3742
       affords a defendant the right to appeal the sentence imposed. Knowing that, the
       defendant waives the right to appeal the plea, conviction and sentence (or the manner
       in which it was determined) on the grounds set forth in Title 18, United States Code,
       Section 3742, except for an upward departure. This agreement does not affect the
       rights or obligations of the United States as set forth in Title 18, United States Code,
       Section 3742(b).

              The defendant is also aware that the United States Constitution and the
       laws of the United States, including Title 28, United States Code, Section 2255,
       afford the defendant the right to contest or “collaterally attack” his conviction
       or sentence after his conviction has become final. Knowing that, the defendant
       knowingly waives his right to contest or “collaterally attack” his plea, conviction
       and sentence by means of any post-conviction proceeding.

              15. In agreeing to this waiver, the defendant is aware that a sentence has not
       yet been determined by the Court. The defendant is also aware that any estimate of


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       the probable sentencing range under the sentencing guidelines that the defendant may
       have received from the defendant’s counsel, the United States or the Probation Office,
       is a prediction, not a promise, and is not binding on the United States, the Probation
       Office or the Court. The United States does not make any promise or representation
       concerning what sentence the defendant will receive. Realizing the uncertainty in
       estimating what sentence the defendant will ultimately receive, the defendant
       knowingly waives his right to appeal in exchange for the concessions made the United
       States in this plea agreement.

                16. The United States reserves the right to carry out its responsibilities under
       guidelines sentencing. Specifically, the United States reserves the right: (a) to bring
       its version of the facts of this case including its file and any investigative files to the
       attention of the Probation Office in connection with that office’s preparation of a
       Presentence report; (b) to dispute sentencing factors or facts material to sentencing;
       (c) to seek resolution of such factors or facts in conference with defendant’s counsel
       and the Probation Office and (d) to file a pleading relating to these issues, in
       accordance with Section 6A1.2 of the Sentencing Guidelines and Police Statements.

              The defendant understands that the guideline range under the Sentence
       Guideline will be determined by the United States Probation Department and the
       Court and that their determination is not part of this agreement.

              17. This plea agreement binds only the United States Attorney’s Office for
       the Southern District of Texas and the defendant; it does not bind any other United
       States Attorney.

Plea Agreement (Document No. 638) at ¶ 14-17, pp.9-10 (emphasis added). In addition, at his

Rearraignment, after making sure that McDonald had personally read the Plea Agreement and had

conferred with his attorney about the contents of the Plea Agreement, the Court carefully questioned

McDonald about the waiver provisions in the Plea Agreement:

       THE COURT: All right. Now, back here on Page 9, waiver of right of appeal,
       Paragraph 14, it states that you are aware pf your right to appeal the sentence
       imposed, and it says, knowing that, you waive and give up your right to appeal to a
       higher court the plea, conviction and sentence or the manner in which it was
       determined, except for upward departure. You understand?

       DEFENDANT McDONALD: Yes, sir.




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       THE COURT: So if I make a mistake in the sentencing, then you have to live with
       that and don’t have a right to appeal to a higher court, you understand? Unless it’s
       an upward departure.

       DEFENDANT McDONALD: Yes, sir.

       THE COURT: All right. This next paragraph talks about your rights to the
       Constitution and Title 28, United States Code, Section 2255, where the defendant has
       the right to contest or collaterally attack his conviction after the sentence, after the
       conviction has become final. You have read that paragraph?

       DEFENDANT McDONALD: Yes, sir.

       THE COURT: You have heard of a petition for writ of habeas corpus?

       DEFENDANT McDONALD: Yes, sir.

       THE COURT: That is one of the types of collateral attacks sometimes, such as this.
       And another one is under Section 2255 where the case is over, conviction is final, the
       sentence has been imposed, there is no appeal, the defendant is in prison. Sometimes
       the prisoner wants to come back and open a new lawsuit, challenge it all, and say
       there was something unconstitutional in some fashion or another.

               And what you are saying here is that you waiver or give up your right to do
       that. Is that your agreement?

       DEFENDANT McDONALD: Yes, sir.

Rearraignment Transcript (Document No. 707) at pp.12-13. Following additional admonishments,

the Court determined that McDonald’s guilty plea was knowing and voluntary. Id. at 21.

       McDonald’s plea agreement waiver of his right to collaterally attack his conviction and/or

sentence with a § 2255 motion is, upon this record, enforceable. McDonald has not alleged that his

Plea Agreement or the waivers contained therein were not knowing and voluntary. In addition,

McDonald has not asserted any ineffectiveness claims which have any bearing on the knowing and

voluntary nature of his Plea Agreement and the waivers contained therein. The record shows that

McDonald affirmed having read the entire Plea Agreement and having discussed its contents with


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counsel. In addition, McDonald affirmed that the Plea Agreement contained the entirety of his

agreement with the Government and acknowledged that any sentence prediction that he had received

from his counsel or the Government was a prediction, not a promise. In addition, McDonald’s

sentence does not exceed the statutory maximum – that is, the maximum sentence allowed by statute,

see 21 U.S.C. §§ 841(a)(1), (b)(1)(A) (statutory maximum life), does not reflect an upward

departure from the Sentencing Guidelines, and does not implicate Booker. See United States v. Bond,

414 F.3d at 542, 545-46 (2005) (construing phrase “statutory maximum” in a plea agreement waiver

to mean “‘the upper limit of punishment that Congress has legislatively specified for violations of a

statute’”). While McDonald argues in his Brief in Support of his § 2255 Motion that the Court’s

calculation of the drug quantity in excess of that alleged in the Superseding Information, and the

application of the firearm enhancement resulted in a sentence that exceeded the statutory maximum,

such an argument is foreclosed by the Fifth Circuit’s decision in Bond, 414 F.3d 542. See also United

States v. Burns, 433 F.3d 442, 450-51 (5th Cir. 2005) (“We join the other circuits in holding that an

otherwise valid appeal waiver is not rendered invalid, or inapplicable to an appeal seeking to raise a

Booker or Fanfan issue.”); e.g., United States v. Escamilla, 176 Fed. Appx. 455 (5th Cir. 2006)

(holding that upward adjustments under the sentencing guidelines are not upward departures excepted

from the waiver provisions in the defendant’s plea agreement).

        As for McDonald’s claim that he was effectively denied an appeal, an appeal he knowingly

and voluntarily waived in connection with his Plea Agreement, because the record shows that an

appeal was filed on McDonald’s behalf, and because the Supreme Court in Anders v. California, 386

U.S. 738, 744 (1967), specifically provided for the filing of a no merits brief by appellate counsel, as

was done in this case, no relief is available to McDonald on the merits of his claim. See Smith v.


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Robbins, 528 U.S. 259, 278 (2000) (“an indigent defendant who has his appeal dismissed because

it is frivolous has not been deprived of ‘a fair opportunity’ to bring his appeal, for fairness does not

require either counsel or a full appeal once it is properly determined that an appeal is frivolous.”)

(internal citations omitted).1



IV.     Conclusion and Recommendation

        Based on the foregoing and the conclusion that McDonald knowingly and voluntarily waived

his right to collaterally attack his conviction, and that no relief is available to McDonald on his claim

that he was effectively denied an appeal, the Magistrate Judge

        RECOMMENDS that the United States’ Motion for Summary Judgment Pursuant to Plea

Agreement Waiver (Document No. 1641) be GRANTED, that Movant Travis Paul McDonald’s 28

U.S.C. § 2255 Motion to Vacate, Set Aside or Correct Sentence (Document No. 1627) be DENIED,

and that this § 2255 proceeding be DISMISSED WITH PREJUDICE.

        The Clerk shall file this instrument and provide a copy to all counsel and unrepresented parties

of record. Within 10 days after being served with a copy, any party may file written objections

pursuant to 28 U.S.C. § 636(b)(1)(C), FED . R. CIV . P. 72(b), and General Order 80-5, S.D. Texas.


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         McDonald cites to the Fifth Circuit’ s recent decision in United States v. Tapp, 491 F.3d
       th
263 (5 Cir. 2007), in support of his argument that he was, notwithstanding his plea agreement
waivers, entitled to a direct appeal. In Tapp, the Fifth Circuit held that where a petitioner “ is
able to demonstrate by a preponderance of the evidence that he requested an appeal, prejudice will
be presumed and the petitioner will be entitled to file an out-of-time appeal, regardless of whether
he is able to identify any arguable grounds for appeal that would not have been precluded by the
terms of his appeal waiver.” Tapp is not applicable here. McDonald requested that his counsel
file a Notice of Appeal, and counsel complied. Tapp cannot be read to require appellate counsel,
in contravention of Anders, to file a merits brief in case in which there are no meritorious issues
for appeal.

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Failure to file objections within such period shall bar an aggrieved party from attacking factual

findings on appeal. Thomas v. Arn, 474 U.S. 140 (1985); Ware v. King, 694 F.2d 89 (5th Cir. 1982),

cert. denied, 461 U.S. 930 (1983); Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982) (en banc).

Moreover, absent plain error, failure to file objections within the ten day period bars an aggrieved

party from attacking conclusions of law on appeal. Douglass v. United Services Automobile

Association, 79 F.3d 1415, 1429 (5th Cir. 1996). The original of any written objections shall be filed

with the United States District Clerk, P.O. Box 61010, Houston, Texas 77208.

       Signed at Houston, Texas, this 21st day of September, 2007.




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